Case 9:22-bk-10031-MB          Doc 30 Filed 08/19/22 Entered 08/19/22 16:26:15                       Desc
                                Main Document    Page 1 of 1

  1    Jeremy W. Faith, Chapter 7 Trustee
       16030 Ventura Blvd, Suite 470
  2    Encino, CA 91436
       Telephone: (818) 705-2777
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  5
                                   UNITED STATES BANKRUPTCY COURT
  6                                 CENTRAL DISTRICT OF CALIFORNIA
  7                                       NORTHERN DIVISION

  8   In re:                                                )       Case No. 9:22-10031-MB
                                                            )
  9    RDS PLUMBING, INC.                                   )       Chapter 7
                                                            )
 10                            Debtor(s).                   )       NOTICE OF CONTINUED MEETING
                                                            )       OF CREDITORS AND APPEARANCE
 11                                                         )       OF DEBTOR(S) 11 U.S.C. §341(a)
                                                            )
 12                                                         )
 13

 14   TO THE ABOVE NAMED DEBTOR(S) AND ATTORNEY WILLIAM E. WINFIELD:
              You are hereby notified that the Meeting of Creditors pursuant to Title 11 U.S.C. Section 341(a) in
 15   the above entitled matter was continued to September 6, 2022 at 01:30 PM for the reason set forth
 16   below:

 17             Document review.
                No appearance required, this is a holding date.
 18            **All requested documents to be uploaded to the Document Portal.

 19    DATED: August 19, 2022                                   /s/ Jeremy W. Faith
                                                                Jeremy W. Faith, Chapter 7 Trustee
 20
               I certify that I served the within notice on the above debtor(s) and the debtor(s)’ attorney, and
 21   interested parties on August 19, 2022.

 22                                                         /s/ Lee Dowding
                                                            Lee Dowding (7trusteefaith@gmail.com)
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